   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 1 of 8 PageID #: 1



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
 DANIELLE BERNHOLT,                                   )
      Plaintiff,                                      )
                                                      )
 v.
                                                      ) Case No. ______________________
 FENSTER-MARTENS HOLDING COMPANY                      )
 d/b/a ENTERPRISE MEDICAL RECRUITING                  )
 and/or ENTERPRISE MEDICAL SERVICES,                  )
                                                      ) JURY TRIAL DEMANDED
 and                                                  )
 NEAL FENSTER,                                        )
        Defendant.                                    )


                                          COMPLAINT

       COMES NOW Plaintiff Danielle Bernholt, and for her Complaint against Defendants

Fenster-Martens Holding Company d/b/a Enterprise Medical Recruiting and/or Enterprise

Medical Services (hereinafter referred to as “Enterprise”) and Neal Fenster (hereinafter

collectively referred to as “Defendants”), states and alleges as follows:

                                          Nature of Case

       1.      Plaintiff was previously employed by Defendants as a Senior Search Consultant

(medical recruiter) in St. Louis, Missouri. During the relevant time periods preceding this action,

Defendants suffered or permitted Plaintiff to spend time working overtime hours for which she

was not paid. In addition, Defendant Enterprise unlawfully withheld earned commissions from

Plaintiff, which constituted a violation of Section 407.911 et seq. of the Revised Missouri Statutes

and also amounted to a breach of contract under Missouri common law. Plaintiff seeks to recover

unpaid wages and other damages under the Fair Labor Standards Act (“FLSA”) and Missouri law.




                                                 1
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 2 of 8 PageID #: 2



                                        Jurisdiction and Venue

        2.      The FLSA authorizes court actions by private parties to recover damages for

violation of the FLSA’s wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claims is

based on 29 U.S.C. § 216(b) and 29 U.S.C. § 1331.

        3.      Missouri law authorizes court actions by private parties to recover damages for

violation of the Missouri Minimum Wage Law, R.S.Mo. § 290.500 et seq. (“MMWL”).

R.S.Mo. § 290.527.       Jurisdiction over Plaintiff’s state law claims is based on 28 U.S.C.

§§ 1332(d)(2) and/or 1367 and R.S.Mo. § 290.527.

        4.      Venue in this district is proper because Defendants do business in this district and

employed Plaintiff to work in this district, and because substantial unlawful conduct giving rise to

the claims occurred in this district.

                                               Parties

        5.      Plaintiff Danielle Bernholt is a resident of the State of Missouri, and she previously

worked at Enterprise’s office location in Chesterfield, Missouri from February 2016 to July 2016.

Plaintiff Bernholt’s consent to join this action is attached hereto as Exhibit 1.

        6.      Defendant Fenster-Martens Holding Company d/b/a Enterprise Medical Recruiting

and/or Enterprise Medical Services is a Missouri corporation, is registered to do business in the

State of Missouri, and has a business location and does business within this judicial district and

the State of Missouri.

        7.      Defendant Neal Fenster was an “employer” of Plaintiff, within the FLSA’s and

MMWL’s broad definition, as he is an owner, member, manager, and/or officer of Enterprise and

maintains operational control of that entity’s day-to-day functions. Defendant Fenster possesses

and exercises the authority to hire, fire, and discipline employees of said entity, makes decisions




                                                  2
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 3 of 8 PageID #: 3



regarding the personnel policies and practices of the company, and/or makes decisions regarding

the pay provided to employees of the company, including but not limited to the pay practices

relevant to Plaintiff’s claims alleged herein.

                                        General Allegations

        8.      During her employment with Defendants, Plaintiff was paid a salary and/or draw,

plus commissions on revenue generated by recruiting assignments that she completed on

Defendants’ behalf. Throughout her employment with Defendants, Plaintiff consistently worked

over forty (40) hours per week, yet Defendants never provided Plaintiff with overtime pay. As a

result, Plaintiff was denied overtime pay in violation of the FLSA and MMWL.

        9.      Defendants did not maintain accurate time records regarding Plaintiff’s actual work

hours, as required by law. Defendants knew or should have known that Plaintiff was working over

40 hours per week without proper overtime compensation. Defendants encouraged Plaintiff to

work as many hours as possible in an effort to generate revenue from her recruiting efforts.

Plaintiff’s long work hours, including work during evenings and weekends, was considered “part

of the job,” given that Plaintiff was paid commissions based on revenue generated by recruiting

assignments that she completed on Defendants’ behalf.

        10.     The net effect of the policies and practices maintained and administered by

Defendants, instituted and approved by company managers, is that Defendants willfully failed to

pay overtime compensation to Plaintiff. Defendants thus enjoyed ill-gained profits at the expense

of Plaintiff.

                Count 1: Plaintiff v. All Defendants for Violation of the FLSA

        11.     Plaintiff reasserts and realleges the allegations set forth above.




                                                   3
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 4 of 8 PageID #: 4



          12.   At all times material herein, Plaintiff has been entitled to the rights, protections,

and benefits provided under the FLSA, 29 U.S.C. §§ 201 et seq.

          13.   The FLSA regulates, among other things, the payment of overtime to employees

who are engaged in interstate commerce, or engaged in the production of goods for commerce, or

employed in an enterprise engaged in commerce or in the production of goods for commerce.

          14.   Defendants are subject to the overtime pay requirements of the FLSA because they

are, individually and/or in the aggregate, an enterprise engaged in interstate commerce, and

Defendants’ employees, including Plaintiff, are engaged in commerce.

          15.   Defendants violated the FLSA by failing to pay Plaintiff overtime pay for hours

that Plaintiff worked in excess of 40 hours per workweek.

          16.   Plaintiff is entitled to damages equal to the mandated overtime premium pay within

the two (2) years preceding the filing of the Complaint.

          17.   Defendants have not acted in good faith or with reasonable grounds to believe that

their actions and omissions were not a violation of the FLSA and, as a result thereof, Plaintiff is

entitled to recover an award of liquidated damages in an amount equal to the amount of unpaid

overtime pay permitted by 29 U.S.C. § 216(b). Alternatively, should the Court find Defendants

did not act willfully in failing to pay overtime compensation, Plaintiff is entitled to an award of

prejudgment interests at the applicable legal rate.

          18.   As a result of the aforesaid violations of the FLSA’s overtime pay provisions,

overtime compensation has been unlawfully withheld by Defendants from Plaintiff. Accordingly,

Defendants are liable under 29 U.S.C. §216(b), together with an additional amount as liquidated

damages, pre- and post-judgment interest, reasonable attorneys’ fees, and costs/expenses of this

action.




                                                  4
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 5 of 8 PageID #: 5



       WHEREFORE, on Count I of this Complaint, Plaintiff demands judgment against all

Defendants and prays for: (1) unpaid overtime wages; (2) liquidated damages; (3) attorneys’

fees, costs, and expenses; (4) pre-judgment and post-judgment interest as provided by law; and

(5) such other and further relief as the Court deems just and proper.

                Count II: Plaintiff v. All Defendants for Violation of MMWL

       19.     Plaintiff reasserts and realleges the allegations set forth above.

       20.     At all relevant times herein, Plaintiff has been entitled to the rights, protections, and

benefits provided under the MMWL, R.S.Mo. §290.500 et seq.

       21.     The MMWL regulates, among other things, the payment of overtime wages by

employers.

       22.     During all times relevant to this action, Defendants were the “employer” of Plaintiff

within the meaning of the MMWL.

       23.     During all times relevant to this action, Plaintiff was Defendants’ “employee”

within the meaning of the MMWL.

       24.     Pursuant to the MMWL, employees are entitled to be compensated at a rate of not

less than one and one-half times the regular rate at which such employees are employed for all

work performed in excess of forty (40) hours in a workweek.

       25.     Pursuant to their policy and practice, Defendants violated the MMWL by refusing

and failing to pay Plaintiff overtime wages required under the MMWL.

       26.     Plaintiff is entitled to damages equal to all unpaid overtime wages due within

two (2) years preceding the filing of this Complaint, as well as liquidated damages.

       27.     Plaintiff is entitled to an award of pre-judgment and post-judgment interest at the

applicable legal rate.




                                                  5
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 6 of 8 PageID #: 6



       28.     Pursuant to R.S.Mo. § 290.527, Defendants are liable for Plaintiff’s attorneys’ fees,

costs, and expenses incurred in this action.

       WHEREFORE, on Count II of this Complaint, Plaintiff demands judgment against all

Defendants and pray for: (1) unpaid overtime wages, (2) liquidated damages; (3) attorneys’ fees,

costs, and expenses; (4) pre-judgment and post-judgment interest as provided by law; and

(5) such other and further relief as the Court deems just and proper.

      Count III: Plaintiff v. Enterprise for Violation of Missouri Commission Statute

       29.     Plaintiff reasserts and realleges the allegations set forth above.

       30.     While employed by Defendant Enterprise, Plaintiff was a “sales representative”

within the meaning of R.S.Mo. § 407.911. Likewise, Defendant Enterprise is a “principal” within

the meaning of R.S.Mo. § 407.911.

       31.     A portion of Plaintiffs’ compensation from Defendant Enterprise was based upon

commissions.

       32.     Plaintiff and Defendant Enterprise had an agreement whereby Defendant agreed to

pay commissions to Plaintiff based on revenue generated by recruiting assignments that she

completed on Defendant Enterprise’s behalf.

       33.     During her employment, Plaintiff earned commissions that were not paid to her by

Defendant.

       34.     The employment relationship between Plaintiff and Defendant Enterprise ended in

July 2016. Therefore, pursuant to R.S.Mo. § 407.912, all commissions due to Plaintiff were

required to be paid, but have not been paid, by Defendant.




                                                  6
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 7 of 8 PageID #: 7



       35.     Defendant Enterprise has failed to timely pay Plaintiff the commissions that she

earned while in Defendant’s employ, and as a result, Defendant Enterprise violated R.S.Mo.

§ 407.913.

       36.     As a result of said statutory violation, Plaintiff has sustained damages. Plaintiff is

entitled not only to her unpaid commissions, but also to an additional amount as if she were still

earning commissions calculated on an annualized pro rata basis from the date of termination to the

date of payment, which has not yet occurred.

       37.     Further, as a result of Defendant Enterprise’s violation of R.S.Mo. § 407.913,

Plaintiff is entitled to recovery her reasonable attorneys’ fees and costs.

       WHEREFORE, on Count III of this Complaint, Plaintiff demands judgment against

Defendant Enterprise and prays for: (1) all of her earned but unpaid commissions; (2) an

additional amount as if Plaintiff were still earning commissions calculated on an annualized pro

rata basis from the date of termination to the date of payment; (3) attorneys’ fees, costs, and

expenses; (4) pre-judgment and post-judgment interest as provided by law; and (5) such other

relief as the Court deems fair and equitable.

                   Count IV: Plaintiff v. Enterprise for Breach of Contract

       38.     Plaintiff reasserts and realleges the allegations set forth above.

       39.     As part of her employment with Defendant Enterprise, Plaintiff entered into a

contract (“the Contract”) with Defendant Enterprise whereby Plaintiff agreed to perform services

for Defendant Enterprise, and Defendant Enterprise agreed to pay Plaintiff certain compensation,

including but not limited to commissions based on revenue generated by recruiting assignments

that she completed on Defendant Enterprise’s behalf.




                                                  7
   Case: 4:17-cv-00013-SNLJ Doc. #: 1 Filed: 01/05/17 Page: 8 of 8 PageID #: 8



       40.      The Contract was originally entered into by Plaintiff and Defendant Enterprise in

January 2016, with an anticipated employment start date of February 1, 2016. The Contract was

subsequently amended by Plaintiff and Defendant Enterprise in June 2016.

       41.      Plaintiff performed all of her obligations under the Contract.

       42.      Pursuant to the Contract, Plaintiff earned certain commissions as a result of

recruiting assignments that she completed on behalf of Defendant Enterprise.

       43.      Defendant Enterprise breached the Contract by failing to pay Plaintiff all of the

commissions that she earned.

       44.      As a direct result of Defendant Enterprise’s breach of the Contract, Plaintiff has

been damaged.

       WHEREFORE, on Count IV of this Complaint, Plaintiff demands judgment against

Defendant Enterprise and prays for: (1) her earned commissions, in an amount to be proven at

trial; (2) pre-judgment and post-judgment interest as provided by law; and (3) such other relief as

the Court deems fair and equitable.

                                                      Respectfully submitted,
                                                      RIGGAN LAW FIRM LLC

                                                        /s/ Russell C. Riggan
                                                      Russell C. Riggan #53060
                                                      Samuel W. Moore #58526
                                                      132 W. Washington Ave., Ste. 100
                                                      Kirkwood MO 63122
                                                      314-835-9100
                                                      314-735-1054 fax
                                                      russ@rigganlawfirm.com
                                                      smoore@rigganlawfirm.com
                                                      Attorneys for Plaintiff




                                                 8
